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  UNITED STATES DISTRICT COURT
  EASTERN DISTRICT OF NEW YORK
  -----------------------------------------------------x
  MIROSLAW GORTAT, et al.,

                                Plaintiffs,

            -against-                                              ORDER
                                                                   07-CV-3629 (ILG)
  CAPALA BROTHERS, INC., et al.,

                                Defendants.
  -------------------------------------------------------------x
  GOLD, S., United States Magistrate Judge:

            On December 7, 2010, defendants filed a letter they entered on the docket as a “First

  Motion for Permanent Injunction against plaintiffs and their legal counsel from holding a general

  meeting on December 11, 2010 with 54 releasors and 25 opt-outs in this proceeding and from

  further having any contacts with them pending court order.” Docket Entry 218. The letter was

  addressed to me and sought to enjoin plaintiffs’ counsel from meeting with individuals who have

  apparently executed releases of their claims in this action. A letter from plaintiffs’ counsel

  inviting these individuals to a meeting was attached to the letter motion.

            Defendants’ motion is denied for several reasons. First, because it seeks emergency

  injunctive relief on only three or four days’ notice, it is best characterized as a motion for a

  temporary restraining order, yet it is not supported by an affidavit showing irreparable injury as

  required by Federal Rule of Civil Procedure 65(b) or a memorandum of law as required by Local

  Civil Rule 7.1(a). Moreover, although the letter motion is addressed to me, a magistrate judge

  does not have authority to award injunctive relief. See 28 U.S.C. § 636(b)(1)(A).

            To the extent defendants’ motion, despite how it is styled, might be construed as seeking

  a case management order, a letter application would be a proper means of applying for relief. See
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  Local Civil Rule 37.3. However, I see no basis for precluding plaintiffs’ counsel from inviting

  the individuals at issue to meet with him. There is no suggestion of compulsion in plaintiffs’

  letter. Moreover, the invitation issued by plaintiffs’ counsel does not raise the policy concerns

  underlying the Order I issued on May 10, 2010, that directed counsel for defendants not to

  communicate or cause his clients to communicate with class members on any matter related to

  this litigation without the prior consent of the Court or class counsel. See Docket Entry 201.

  Finally, inasmuch as defendants seek an order enjoining plaintiffs’ counsel from holding a

  meeting on December 11, 2010, the application is now moot.

           For all these reasons, defendants’ motion is denied.

                                                        SO ORDERED.

                                                           /s/
                                                        Steven M. Gold
                                                        United States Magistrate Judge

  Brooklyn, New York
  December 14, 2010


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